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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

REIYN KEOHANE

             v.                      CASE NO.: 4:16-cv-511-MW-CAS

FLORIDA DEPARTMENT OF
CORRECTIONS SECRETARY


                                  JUDGMENT

     Plaintiff's claims against Defendant are dismissed with prejudice.




                                    JESSICA J. LYUBLANOVITS
                                    CLERK OF COURT


12/18/2020                          s/ Chip Epperson
DATE                                Deputy Clerk
